Case 1:17-cv-24115-CMA Document 11 Entered on FLSD Docket 12/12/2017 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-24115-CIV-ALTONAGA/Goodman

  MICHAEL CRUZ,

         Plaintiff,
  vs.

  EXETER FINANCE LLC,

        Defendant.
  _______________________/

                                               ORDER

         THIS CAUSE is before the Court on the parties’ Joint Motion for Order to Arbitrate and

  Stay Case [ECF No. 10]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. All proceedings and

  deadlines, including but not limited to any case management deadlines, are stayed pursuant to

  Section 3 of the Federal Arbitration Act (“FAA”), 9 U.S.C. § 3, pending completion of

  arbitration, at which time either party may apply to the Court to confirm, vacate, or modify the

  arbitration award as set forth in Sections 9 through 11 of the Federal Arbitration Act, id. §§ 9-11.

         The Clerk is directed to ADMINISTRATIVELY CLOSE this case. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida this 12th day of December, 2017.


                                                                                  ___
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
